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                           UNITED STATES DISTRICT COURT
                       IN AND FOR THE DISTRICT OF WYOMING



   STEPHANIE WADSWORTH,
   Individually and as Parent and Legal
   Guardian of W.W., K.W., G.W., and          Case No.: 2:23-cv-00118-KHR
   L.W., minor children, and
   MATTHEW WADSWORTH,

                       Plaintiffs,

                  v.

   WALMART, INC. and JETSON
   ELECTRIC BIKES, LLC,

                        Defendants.



    PLAINTIFFS’ MOTION FOR ADMISSION TO APPEAR PRO HAC VICE

        Pursuant to Local Rule 84.2(b), Plaintiffs Stephanie Wadsworth, Individually and

as Parent and Legal Guardian of W.W., K.W., G.W., and L.W., minor children and

Matthew Wadsworth, by and through their undersigned counsel, respectfully submit the

following Motion to grant attorney Joshua Michael Autry permission to appear pro hac

vice.

    1. I, Taly Goody, an attorney with Good Law Group, P.A., 58 Malaga Cove Plaza,

        Palos Verdes Estates, CA 90274, Email: taly@goodylawgroup.com, telephone

        number (310) 893-1983, am counsel for the Plaintiffs in the above-captioned

        matter.

    2. I, Taly Goody, certify I am a member in good standing with the Wyoming Bar
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      Association and the U.S.D.C. District Court of Wyoming Bar. My Wyoming Bar

      Number is 8-6737. I was admitted to practice in the District Court of Wyoming

      on June 30, 2023.

   3. Movant, Joshua Michael Autry, is an attorney with Morgan & Morgan,

      P.A., 199 Water Street, Suite 1500, New York, New York 10005, Email:

      jautry@forthepeople.com, telephone number (859) 899-8785.

   4. To the best of my knowledge and belief, Mr. Autry is of good moral

      character. He is an attorney duly licensed and in good standing with the

      Pennsylvania Bar, admitted on October 17, 2008, the Kentucky Bar,

      admitted September 23, 2019, the Tennessee Bar, admitted July 8, 2024, and

      the New York Bar, admitted February 10, 2025. He has never been denied

      pro hac vice admission or had admission revoked in any court. Mr. Autry has

      never been disciplined or sanctioned by any court.

   5. As local counsel, I affirm that I shall be fully prepared to represent the client

      at any time, and in any capacity.

ACCORDINGLY, Plaintiff respectfully moves the Court to enter an Order permitting

Joshua Michael Autry to appear in this matter pro hac vice.

Date: February 18, 2025                          Respectfully Submitted,

                                                 /s/ Taly Goody, Esq.
                                                 TALY GOODY, Esq.
                                                 Wyoming Bar No.: 8-6737
                                                 GOODY LAW GROUP
                                                 58 Malaga Cove Plaza
                                                 Palos Verdes Estates, CA 90274

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                                                 Primary Email:
                                                 Taly@GoodyLawGroup.com

                                                 Joshua Michael Autry, Esq.*
                                                 Pennsylvania Bar No. 208459
                                                 Kentucky Bar No. 98419
                                                 Tennessee Bar No. 41623
                                                 New York Bar No. 6161962
                                                 MORGAN & MORGAN, P.A.
                                                 199 Water Street, Suite 1500
                                                 New York, NY 10005
                                                 Telephone: (859) 899-8785
                                                 jautry@forthepeople.com

                                                 *Pro Hac Vice Pending
                                                 Counsel for the Plaintiffs



                           CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on February 18, 2025, a true and correct copy of

the foregoing was electronically filed with the Clerk of Court using the CM/ECF

system, which will send a notice of electronic filing to all counsel of record.

                                                 /s/ Taly Goody
                                                 Taly Goody




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